     Case 4:17-cr-00431 Document 37 Filed in TXSD on 06/04/18 Page 1 of 1

                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA

v.                                           Case Number: 4:17−cr−00431

Stephen P Lynch




                               NOTICE OF SETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN SET FOR
THE PLACE, DATE AND TIME SET FORTH BELOW.




Before the Honorable
Nancy F Atlas
PLACE:
Courtroom 9F
United States District Court
515 Rusk Avenue
Houston, Texas 77002
DATE: 6/6/2018
TIME: 11:00 AM

TYPE OF PROCEEDING: Re−Arraignment Hearing


Date: June 4, 2018
                                                        David J. Bradley, Clerk
